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Chapter 7 Trustee


                      IN THE UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF UTAH, CENTRAL DIVISION


 In re                                            Jointly Administered and Substantively
                                                            Consolidated under
 DELVE INTERNATIONAL, INC., and
 DELVE EQUIPMENT, LLC,                                  Case No. 22-21025 (RKM)

                  Debtors.                                       Chapter 7



         MOTION FOR ORDER APPROVING SALE OF PERSONAL PROPERTY


         George Hofmann, in his capacity as the duly appointed trustee (the “Trustee”) of

the substantively consolidated chapter 7 bankruptcy estates (collectively, the “Estate”)

of Delve Equipment, LLC (“DEL”) and Delve International, Inc. (“DII,” and together with

DEL, the “Debtor”), through his undersigned counsel, moves this Court for an Order

approving a sale of the Estate’s interests in certain tangible, intangible, and intellectual

property identified the Sale Agreement, attached hereto as Exhibit A. A copy of the

Trustee’s proposed Order is attached hereto as Exhibit B. The Trustee reserves the

right to modify the proposed Order to the extent necessary to resolve informal, formal,




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or potential objections to the Motion. In support of this Motion, the Trustee respectfully

represents as follows:

        1.       This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding under 28 U.S.C. § 157(b). Venue is proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.       On March 25, 2022, the Petitioning Creditors1 filed an involuntary chapter

7 bankruptcy petition against DII, thereby commencing bankruptcy case No. 22-21025,

styled: In re Delve International, Inc. (the “DII Case”).

        3.       On May 26, 2022, the Court entered an Order for Relief in the DII Case

(the “Relief Date”).

        4.       On June 2, 2022, DEL filed a voluntary chapter 7 petition thereby

commencing the bankruptcy case No. 22-22077, styled: In re Delve Equipment, LLC

(the “DEL Case”).

        5.       The Trustee has been appointed as the chapter 7 trustee in both the DII

Case and the DEL Case.

        6.       Prior to the Petition Date, the Trustee understands that the Debtor

designed and manufactured amphibious vehicles, sometimes known as “MudTraxx” or

“LiteTrax”.

        7.       On information and belief, DFC Diesel (the “Buyer”) was a former

customer of the Debtor, whose order was unfulfilled by the Debtor as of the Relief Date.

        8.       The Buyer desires to purchase the Estate’s interest in the following:



1The “Petitioning Creditors” are, collectively: (i) David Clark Sole Proprietor Profit Sharing Plan; (ii) David
W. Reeves Profit Sharing Plan; and (iii) Brent Clyde.

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    A) Digital copies of all plans, drawings, schematics, diagrams, blueprints, CAD
       renderings, designs, sketches, notes, technical information, parts lists, and
       vendor lists, contained on the Debtor’s computers or servers, wherever located,
       related in any way to the production or manufacture of any of the products or
       vehicles manufactured by the Debtors, including but not limited to “Commercial
       MudTrax” (the “Vehicles”). The property identified in this Paragraph A shall be
       referred to, collectively, as the “Plans”.

    B) The Debtors’ rights under any executory contracts or licensing agreements for
       software used by the Debtors in the inventory, purchasing, design, or
       manufacture of products and Vehicles, including but not limited to the “DBA
       Manufacturing” software, and the Debtors’ rights to intellectual property owned by
       the Debtors, including but not limited to all patents, except insofar as a license to
       intellectual property is made unnecessary by Buyer’s assumption thereof
       (collectively, the “Software and I.P.”).

    C) All of the Debtors’ foreign and domestic patents, including without limitation U.S.
       Patent Nos. 10,035,551 and 10,392,059 (collectively, the “Patents”).

        9.       The Plans, the Software and I.P., and the Patents, shall be referred to,

collectively, as the “Assets.”

        10.      The Trustee has agreed to sell the Estate’s interests in the Assets on the

terms set forth in the Sale Agreement.

        11.      The Trustee has dealt with the Buyer at arms-length and negotiated what

he believes to be a reasonable and fair price for the sale of the Assets. The Trustee

believes that the Buyer has no connection to the Estate, except as set forth above. The

Trustee believes that the Buyer is a purchaser in “good faith,” as contemplated by 11

U.S.C. § 363(m).

                                    RELIEF REQUESTED

        12.      By this Motion, the Trustee respectfully requests that the Court approve

the letter Sale Agreement (the “Sale Agreement”), attached hereto as Exhibit A, and the

assignment and transfer of Assets contemplated by the Sale Agreement.



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                         DESCRIPTION OF THE SALE AGREEMENT

        13.      The Sale Agreement is summarized in this Motion, but to the extent of any

inconsistency between this summary and the Sale Agreement, the Sale Agreement

itself controls. Accordingly, creditors and parties-in-interest are directed to the Sale

Agreement itself for its complete terms.

        14.      Under the Sale Agreement, the Trustee has agreed to assign to the Buyer

all of the Debtor’s and the Estate’s right, title, and interest in and to the Assets.

Specifically, the Buyer has offered to purchase from the Trustee the Estate’s interests, if

any, in (a) the Plans, in exchange for cash consideration of $500; (b) the Software and

I.P, in exchange for cash consideration of $250; and (c) the Patents, in exchange for

cash consideration of $5,000.00.

        15.       The Trustee’s transfer of the Assets is on an “as is, where is, if is” basis,

without representations or warranties of any kind. To the extent that the Assets include

legally valid and binding obligations of the Debtor that have not otherwise been

discharged in connection with the Debtor’s bankruptcy case and that are required for

the Buyer to legally own and/or operate the Assets, such liabilities shall be assumed by

the Buyer.

        16.      The Buyer has indicated to the Trustee that time is of the essence for

completing the Sale Agreement. Accordingly, consistent with the Sale Agreement, the

Trustee requests a waiver of the 14-day stay otherwise applicable under Bankruptcy

Rule 6004(h).

        17.      In exchange for the Trustee’s transfer of the Assets, the Buyer has agreed

to pay to the Trustee the cash consideration described above (on an Asset-by-Asset


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basis). The sale shall be subject to higher and better offers. That means that if another

buyer is willing to purchase the Plans, the Software and I.P., or the Patents, for an

amount more than the amounts the Buyer agrees to pay for those Assets (or any one of

them), and such third party makes an offer before entry of the Sale Order, then the

Trustee may accept that higher and better offer, subject to the Buyer’s opportunity to

make another higher and better offer.

                                       DISCUSSION

I.       The Proposed Transfer of the Assets Is Appropriate Under Bankruptcy
         Code § 363

         Bankruptcy Code § 363 provides that the Trustee, “after notice and a hearing,

may use, sell or lease, other than in the ordinary course of business, property of the

estate.” Bankruptcy Code § 363(b). Bankruptcy courts typically defer to a trustee’s and

debtor’s business judgment regarding the sale of estate assets, unless such decision is

arbitrary and capricious. See In re Curlew Valley Assocs., 14 B.R. 506, 511-13 (Bankr.

D. Utah 1981). Courts generally will not second-guess a trustee’s or debtor’s business

decisions when those decisions involve “a business judgment made in good faith, upon

a reasonable basis, and within the scope of his authority under the Code.” Id. at 513-14

(footnotes omitted).

         The Trustee has sound business reasons for the proposed transfer of the Assets.

Namely, Buyer’s offer is the only offer the Trustee received for the Assets. The Trustee

believes that the Assets have minimal value to anyone but the Buyer, which already

holds some level of interest in the Assets, in that the Buyer anticipated owning a

completed “MudTraxx” vehicle but for the Debtor’s financial woes. Additionally, the

Trustee understands that the Buyer is a diesel engine rebuilder, and as such,

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presumably has the necessary shop, tools, and other resources to make use of the

Assets. Without this proposed sale, the Estate likely would receive absolutely nothing

for the Debtor’s interests in the Assets. Moreover, because the sale of the Assets is

subject to higher and better offers, other interested parties may bid on the Assets (or

any one of them).

                                        CONCLUSION

        WHEREFORE, the Trustee moves this Court to enter an Order granting the

Motion in its entirety; approving the proposed sale of the Assets as outlined above;

finding that all objections, if any, to this Motion are overruled; finding that the sale is in

compliance with applicable bankruptcy law; finding that the Buyer is a "good faith

purchaser" including for purposes of 11 U.S.C. § 363(m); authorizing the Trustee, the

Buyer, and the Debtors to execute the documents necessary to effectuate the

transactions contemplated by this Motion, including without limitation such assignment

documents as may be required; and granting such additional relief as the Court deems

appropriate.

        Dated: November 15, 2022

                                            COHNE KINGHORN, PC

                                            /s/ Jeffrey Trousdale
                                            GEORGE B. HOFMANN
                                            JEFFREY TROUSDALE
                                            Attorneys for Trustee




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                      EXHIBIT “A”




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                      EXHIBIT “B”




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Chapter 7 Trustee


                   IN THE UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


In re                                          Jointly Administered and Substantively
                                                         Consolidated under
DELVE INTERNATIONAL, INC., and
DELVE EQUIPMENT, LLC,                                Case No. 22-21025 (RKM)

               Debtors.                                       Chapter 7


    ORDER GRANTING TRUSTEE’S MOTION FOR ORDER APPROVING SALE OF
                        PERSONAL PROPERTY

        The Court has considered the Motion for Order Approving Sale of Personal Property

(the “Motion”), filed by George Hofmann (the “Trustee”), in his capacity as the duly

appointed trustee (the “Trustee”) of the substantively consolidated chapter 7 bankruptcy

estates (collectively, the “Estate”) of Delve Equipment, LLC (“DEL”) and Delve

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International, Inc. (“DII,” and together with DEL, the “Debtor”). It appears from the

Certificate of Service on file that notice of hearing on the Motion was served on all

creditors and parties in interest included on the mailing matrix in this case. The Court finds

that the Trustee, has established good cause to grant the relief sought through the Motion.

         Accordingly, it is hereby

FOUND AND DETERMINED AS FOLLOWS: 1

         A.       This Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(M). Venue of

this case and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         B.       Proper, timely, adequate and sufficient notice of the Motion has been

provided in accordance with Bankruptcy Code §§ 102(1) and 363 and Rules 2002, 6004,

and 9014 of the Federal Rules of Bankruptcy Procedure to (i) the Office of the United

States Trustee, and (ii) all parties in interest on the mailing matrix in the above-captioned

case. Such notice was reasonable, sufficient, and appropriate under the circumstances,

and no party-in-interest objected to the Motion. No further notice of the Motion is or shall

be required.

         C.       The Sale Agreement (as defined in the Motion and attached hereto as Exhibit

A) was negotiated, proposed and entered into by the Trustee and DFC Diesel (the “Buyer”)

in good faith, and from arm’s length bargaining positions. Neither the Trustee nor the

Buyer have engaged in any conduct that would cause or permit the Sale Agreement to be

avoided under Bankruptcy Code § 363(n). The Buyer is a good faith purchaser under

Bankruptcy Code § 363(m) and, as such, is entitled to all the protections afforded thereby.

1  Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as
findings of fact when appropriate. Fed. R. Bankr. P. 7052.

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         D.       The consideration provided by the Buyer for the Estate’s interest in the

Assets identified in the Sale Agreement (the “Assets”) is: (i) fair and reasonable; (ii) is the

highest and/or best offer for the Assets; (iii) will provide a greater recovery for the Debtor’s

creditors than would be provided by any other practical alternative;; and (iv) constitutes

reasonably equivalent value and fair consideration under the Bankruptcy Code and

applicable non-bankruptcy law.

         E.       The transfer of the Assets to the Buyer will be a legal, valid, and effective

transfer of the Assets, and will vest the Buyer with all rights, title and interest of the Debtor

and the Estate in the Assets.

         F.       The Assets will be sold “as is, where is, if is” in all respects.

NOW THEREFORE, BASED UPON THE FOREGOING FINDINGS OF FACT, IT IS

HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

         1.       The Motion is granted.

         2.       The Sale Agreement, and all of the terms and conditions thereof, is hereby

approved. Pursuant to Bankruptcy Code § 363(b), the Trustee is hereby authorized and

directed to consummate the sale contemplated by the Sale Agreement.

         3.       The Trustee is authorized and directed to execute and deliver, and is

empowered to perform under, consummate and implement, the Sale Agreement, together

with all additional instruments and documents that may be reasonably necessary or

desirable to implement the Sale Agreement, and to take all further actions as may be

requested by the Buyer for the purpose of assigning, transferring, granting, conveying and

conferring to the Buyer or reducing to possession, the Assets, or as may be necessary or

appropriate to the performance of the Sale Agreement.


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         4.       This Court retains jurisdiction to enforce and implement the terms and

provisions of the Sale Agreement, all amendments thereto, any waivers and consents

thereunder, and each of the agreements executed in connection therewith, including, but

not limited to, retaining jurisdiction to (a) compel delivery of the Assets to the Buyer,

(b) compel delivery of the purchase price or performance of other obligations owed to the

Trustee, (c) resolve any disputes arising under or related to the Sale Agreement, and (d)

interpret, implement, and enforce the provisions of this Order.

         5.       The transactions contemplated by the Sale Agreement are undertaken by the

Buyer in good faith, as that term is used in Bankruptcy Code § 363(m), and accordingly,

the reversal or modification on appeal of the authorization provided herein to consummate

the Sale Agreement shall not affect the validity of the sale to the Buyer, unless such

authorization is duly stayed pending such appeal prior to the closing under the Sale

Agreement. The Buyer is a purchaser in good faith of the Assets, and the Buyer is entitled

to all of the protections afforded by Bankruptcy Code § 363(m).

         6.       The terms and provisions of the Sale Agreement and this Order are binding

in all respects upon, and shall inure to the benefit of, the Debtor’s estate, the Debtor, the

Trustee, the Buyer, and their respective affiliates, successors, and assigns.

                                      --- END OF ORDER ---




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